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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                               Chapter 11

 RGN-GROUP HOLDINGS, LLC, a Delaware                  Case No. 20-11961 (BLS)
 limited liability company, et al. 1                  (Jointly Administered)

                 Debtors.                             Ref. Docket Nos. 45, 47, 73, & 83



                 NOTICE OF FILING OF REVISED ORDER ON
        DEBTORS’ MOTION FOR ENTRY OF AN ORDER ESTABLISHING
 (I) REJECTION PROCEDURES OF EXECUTORY CONTRACTS AND UNEXPIRED
    LEASES AND (II) MODIFICATION PROCEDURES FOR UNEXPIRED LEASES

       PLEASE TAKE NOTICE that the debtors and debtors in possession (collectively, the
“Debtors”) in the above-captioned chapter 11 cases filed with the United States Bankruptcy
Court for the District of Delaware (the “Court”) the Debtors’ Motion for Entry of an Order
Establishing (I) Rejection Procedures of Executory Contracts and Unexpired Leases and (II)
Modification Procedures for Unexpired Leases (the “Motion”). Attached as Exhibit A to the
Motion was a proposed form of order (the “Proposed Order”).

        PLEASE TAKE FURTHER NOTICE that in response to certain comments received,
the Debtors have revised the proposed form of order (the “Revised Proposed Order”), attached
hereto as Exhibit I. For the convenience of the Court and other parties, a blackline comparing
the Revised Proposed Order against the Proposed Order is attached hereto as Exhibit II.

        PLEASE TAKE FURTHER NOTICE that the Debtors intend to seek entry of the
Revised Proposed Order at the hearing (the “Hearing”) currently scheduled for August 31, 2020,
at 11:00 a.m. (ET). The Debtors reserve all rights to modify the Revised Proposed Order at or
prior to the Hearing.

                            [Remainder of Page Intentionally Left Blank]




    1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Number (“FEIN”), where applicable, are as follows:
RGN-Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC
(4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and
RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are
disregarded entities for tax purposes and do not have FEINs. The mailing address for the
Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).


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 Dated: Wilmington, Delaware             FAEGRE DRINKER BIDDLE & REATH LLP
        August 30, 2020
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                                         Mike T. Gustafson (admitted pro hac vice)
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                                         Chicago, Illinois 60606
                                         Tel.: (312) 212-6500
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                                         James.Conlan@faegredrinker.com
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                                         -and-

                                         /s/ Patrick A. Jackson
 Jay Jaffe (admitted pro hac vice)       Patrick A. Jackson (Del. Bar No. 4976)
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 Indianapolis, Indiana 46240             222 Delaware Avenue, Suite 1410
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                                         Ian.Bambrick@faegredrinker.com

                                         Proposed Counsel to the Debtors
                                         and Debtors in Possession




                                           2
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                                         Exhibit I

                                   Revised Proposed Order




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

RGN-GROUP HOLDINGS, LLC, a Delaware                  Case No. 20-11961 (BLS)
limited liability company, et al. 1                  (Jointly Administered)

                Debtors.                             Ref: D.I. 45


                    ORDER ESTABLISHING (I) REJECTION
        PROCEDURES OF EXECUTORY CONTRACTS AND UNEXPIRED
    LEASES AND (II) MODIFICATION PROCEDURES FOR UNEXPIRED LEASES

         Upon the motion (the “Motion”) 2 of the Debtors in the above-captioned chapter 11 cases

(the “Chapter 11 Cases”) for entry of an order, pursuant to sections 105(a), 365, and 554 of title

11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rules 6006,

6007, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

approving procedures for the rejection of executory contracts and unexpired leases throughout

these Chapter 11 Cases, and granting authority to take all actions necessary to implement such

procedures, including abandonment of any Remaining Property; and it appearing that the Court

has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware

dated February 29, 2012; and it appearing that the Motion is a core matter pursuant to 28 U.S.C.



    1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Number (“FEIN”), where applicable, are as follows:
RGN-Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC
(4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and
RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are
disregarded entities for tax purposes and do not have FEINs. The mailing address for the
Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).
    2
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in
the Motion.
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§ 157(b)(2) and that the Court may enter a final order consistent with Article III of the United

States Constitution; and it appearing that venue of these Chapter 11 Cases and of the Motion is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that due and adequate notice of

the Motion has been given under the circumstances, and that no other or further notice need be

given; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors and other parties in interest; and after due deliberation, and good

and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED, as set forth herein.

       2.      The following Rejection Procedures are hereby APPROVED:

               a. Rejection Notice. The Debtors will file a notice (the “Rejection Notice”)
                  setting forth the proposed rejection of one or more Contracts or Leases and
                  will serve the Rejection Notice via U.S. mail on: (i) the counterparty to the
                  Contract or Lease (the “Counterparty”) (and its counsel, if known) under the
                  respective Contract or Lease at the notice address specified in the Contract or
                  Lease; (ii) with respect to real property Leases (“Real Property Leases”), any
                  known third party having an interest in personal property located at the leased
                  premises (the “Leased Premises”); (iii) any party known to assert a lien in any
                  property subject to the rejected Contract or Lease; (iv) the Subchapter V
                  Trustee, Natasha Songonuga, Esq., c/o Gibbons P.C., 300 Delaware Avenue,
                  Suite 1015, Wilmington, Delaware 19801-1671, E-mail:
                  nsongonuga@gibbonslaw.com; and (v) the Office of the United States Trustee
                  for the District of Delaware, J. Caleb Boggs Building, 844 King Street, Suite
                  2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: David Villagrana,
                  Esq.) Email: david.villagrana2@usdoj.gov; and (vi) counsel to any committee
                  appointed in these Chapter 11 Cases (collectively, the “Notice Parties”).

               b. Content of Rejection Notice. The Rejection Notice shall be substantially in
                  the form attached as Exhibit 1 to the Proposed Order. With respect to Real
                  Property Leases, the Rejection Notice shall set forth the following
                  information, to the best of the Debtors’ knowledge: (i) the street address of the
                  related real property; (ii) the name and address of the landlord (the
                  “Landlord”); (iii) the date on which the Debtors will vacate (or have vacated)
                  the Leased Premises; and (iv) a brief description of any personal property or
                  furniture, fixtures and equipment to be abandoned. With respect to all other
                  Contracts or Leases to be rejected, the Rejection Notice shall set forth the
                  following information, to the best of the Debtors’ knowledge: (i) the name and


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    address of the Counterparty; and (ii) a brief description of the Contract or
    Lease to be rejected. All Rejection Notices will be accompanied by a copy of
    the proposed order approving the rejection of the Contracts and/or Leases set
    forth on the Rejection Notice (each such order a “Rejection Order”).

 c. Objections. Should a party in interest object to the Debtors’ proposed
    rejection of a Contract or Lease or the abandonment of any personal property
    located in the Leased Premises the Debtors propose to abandon, such party
    must file and serve a written objection (an “Objection”) so that it is filed with
    this Court and actually received by the following parties (the “Objection
    Notice Parties”) no later than fourteen (14) days after the date the Rejection
    Notice is filed (the “Objection Deadline”): (i) the Debtors, RGN Group
    Holdings, LLC, et al., Attn: James S. Feltman, Responsible Officer, 3000
    Kellway Drive, Suite 140, Carrollton, Texas 75006, E-mail:
    James.Feltman@DuffandPhelps.com; (ii) the Debtors’ Counsel, Faegre
    Drinker Biddle & Reath LLP, Attn: Patrick A. Jackson, Esq. and Ian J.
    Bambrick, Esq., 222 Delaware Avenue, Suite 1410, Wilmington, Delaware
    19801, E-mail: Patrick.Jackson@faegredrinker.com &
    Ian.Bambrick@faegredrinker.com; (iii) the Subchapter V Trustee, Natasha
    Songonuga, Esq., c/o Gibbons P.C., 300 Delaware Avenue, Suite 1015,
    Wilmington, Delaware 19801-1671, E-mail: nsongonuga@gibbonslaw.com;
    and (v) the Office of the United States Trustee for the District of Delaware, J.
    Caleb Boggs Building, 844 King Street, Suite 2207, Lockbox 35, Wilmington,
    Delaware 19801 (Attn: David Villagrana, Esq.) Email:
    david.villagrana2@usdoj.gov; and (vi) counsel to any committee appointed in
    these Chapter 11 Cases.

 d. Effects of Failing to File an Objection to a Rejection Notice. If no Objection
    to a Rejection Notice is timely filed and served, the Debtors shall submit a
    form of order with the Court under certification of counsel substantially in the
    form attached to the Rejection Notice and such Rejection Order shall set forth
    the effective date of such rejection for the applicable Contract or Lease (the
    “Rejection Date”); provided, however, that the Rejection Date for a Real
    Property Lease shall not be earlier than the later of (i) the date of expiration of
    the Objection Deadline, with no objections having been filed; (ii) entry of the
    Rejection Order; and (iii) the Debtors relinquish control of the applicable
    Leased Premises by notifying the affected Landlord in writing of the Debtors’
    irrevocable surrender of the premises and (A) turning over keys, key codes,
    and security codes, if any, to the affected Landlord, or (B) notifying the
    affected Landlord in writing that the keys, key codes, and security codes, if
    any, are not available, but the Landlord may rekey the Leased Premises (the
    “Lease Rejection Date”); provided further that the Rejection Date for a
    rejection of a Real Property Lease shall not occur earlier than the date the
    Debtors filed and served the applicable Rejection Notice.

 e. Remaining Property. After consultation with Regus Corporation, any
    personal property or furniture, fixtures and equipment (the “Remaining


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                  Property”) remaining on the Leased Premises as of the Lease Rejection Date
                  shall be deemed abandoned by the Debtors and the Landlords may use or
                  dispose of any Remaining Property, in their sole discretion, without any
                  further notice or liability to the Debtors or any third party and, to the extent
                  applicable, the automatic stay shall be modified to allow such use or
                  disposition.

              f. Effects of Filing an Objection to a Rejection Notice. If a timely Objection to a
                 Rejection Notice is filed and received in accordance with the Rejection
                 Procedures, the Debtors shall schedule a hearing on such Objection and shall
                 provide at least seven (7) days’ notice of such hearing to the objecting party,
                 the Counterparty (if not the objecting party), and the Objection Notice Parties.
                 If this Court upholds the Debtors’ determination to reject the applicable
                 Contract or Lease, then the applicable Contract or Lease shall be deemed
                 rejected as of the date determined by this Court as set forth in any order
                 overruling such Objection.

              g. Consent Orders. Any Objection may be resolved without a hearing by an
                 order of this Court submitted on a consensual basis by the Debtors, the
                 objecting party, and the Counterparty.

              h. Deadlines for Filing Claims. Any Rejection Order will be served on the
                 appropriate Counterparties no later than five (5) days after entry of such order.
                 Claims arising out of the rejection of Contracts or Leases must be filed on or
                 before the later of (i) the deadline for filing proofs of claims established by
                 this Court in these Chapter 11 Cases or (ii) thirty-five (35) days after the date
                 of entry of the applicable Rejection Order. If no proof of claim is timely filed,
                 such claimant may not be treated as a creditor with respect to such claims for
                 voting on any chapter 11 plan in these Chapter 11 Cases and may be forever
                 barred from asserting a claim for rejection damages and from participating in
                 any distributions that may be made in connection with these Chapter 11
                 Cases.

              i. Treatment of Security Deposits. If the Debtors have deposited funds with a
                 Counterparty or Landlord as a security deposit, such Counterparty or Landlord
                 may setoff or otherwise use such deposit following three (3) business days’
                 notice in writing of their intent to exercise such rights to the Objection Notice
                 Parties. Further, the Debtors shall provide notice to Regus Corporation for
                 any security deposits remitted to or held for the benefit of the Debtors.

       3.     The form of Rejection Notice attached hereto as Exhibit 1 is hereby APPROVED.

       4.     The Debtors are authorized to send the Rejection Notices to the Counterparties of

the Contracts and Leases.




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       5.      The following Modification Procedures with respect to real property Leases

where (i) a Debtor entity is tenant and (ii) the Landlord and Debtor have agreed to modification

thereof (together with the Rejection Procedures, the “Procedures”) are hereby APPROVED:

               a. Modification Notice. The Debtors will file a notice (the “Modification
                  Notice”) setting forth the proposed modification of one or more Leases where
                  a Debtor entity is a party and will serve the Modification Notice via U.S. mail
                  on the Notice Parties.

               b. Content of Modification Notice. The Modification Notice shall set forth the
                  following information, to the best of the Debtors’ knowledge: (i) the street
                  address of the related real property; (ii) the name and address of the Landlord;
                  (iii) a brief description of the modification; however, absent reasonable
                  protection and restrictions against publication, any sensitive economic
                  information about the terms of the original Lease or the modification shall not
                  be disclosed absent prior written consent of the Landlord; (iv) whether the
                  Lease is guaranteed by a Debtor, and if so, which Debtor; and (v) the
                  proposed date that the modification shall go into effect.

               c. Objections. Should a party in interest object to the proposed modification of a
                  Lease as set forth in a Modification Notice, such party must file and serve a
                  written objection (an “Objection”) so that it is filed with this Court and
                  actually received by the Objection Notice Parties no later than seven (7) days
                  after the date the Modification Notice is filed.

               d. Effects of Failing to File an Objection to a Modification Notice. If no
                  Objection to a Modification Notice is timely filed and served, then (i) the
                  Debtor-tenant shall consent to and perform under the modified Lease on an
                  interim basis, including but not limited to executing any documents in
                  connection with such modification, until such time as the modified Lease is
                  assumed pursuant to and at the time of confirmation of a Bankruptcy Plan, and
                  (ii) the Debtor-guarantor, if any, may execute any documents in connection
                  with such documentation, subject to the provisions of paragraph 7 of this
                  Order.

               e. Effects of Filing an Objection to a Modification Notice. If a timely Objection
                  to a Modification Notice is filed and received in accordance with the
                  Modification Procedures, the Debtors shall schedule a hearing on such
                  Objection and shall provide at least seven (7) days’ notice of such hearing to
                  the objecting party, the Landlord, and the Objection Notice Parties. If this
                  Court upholds the Debtor-tenant’s determination to modify the applicable
                  Lease, then (i) the Debtor-tenant shall consent to and perform under the
                  modified Lease on an interim basis, including but not limited to executing any
                  documents in connection with such modification, until such time as the
                  modified Lease is assumed pursuant to and at the time of confirmation of a


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                   Bankruptcy Plan, and (ii) the Debtor-guarantor, if any, may execute any
                   documents in connection with such documentation, subject to the provisions
                   of paragraph 7 of this Order.

               f. Consent Orders. Any Objection may be resolved without a hearing by an
                  order of this Court submitted on a consensual basis by the Debtors and the
                  objecting party.

       6.      For the avoidance of doubt and notwithstanding anything to the contrary

contained herein or in the Motion: (a) the Rejection Procedures approved by this Order shall not

be utilized to reject leases of non-residential real property pursuant to which an entity other than

a Debtor is the tenant; (b) no lease of non-residential real property pursuant to which an entity

other than a Debtor is the tenant shall be considered a “Lease” for purposes of the Procedures;

(c) the Modification Procedures set forth in paragraph 5 above shall only be used to approve the

Debtors’ determination to enter into a modification of an applicable lease for which the Debtor is

the tenant and where the parties to such lease have consented to the proposed Modification, and

only to the extent Court approval of the Debtor’s participation in such Modification is deemed

necessary by any party; (d) the Modification Procedures approved by this Order shall not be

utilized to seek amendments to leases with non-debtor tenants or guaranties by non-debtor

guarantors, or to seek a modification to any guaranty by a Debtor of a lease to which a non-

debtor entity is tenant; (e) no guaranty of any Debtor shall be considered an executory contract

subject to modification or rejection pursuant the Procedures approved herein; and (f) nothing in

this Order shall restrict or otherwise constrain any Counterparty or Landlord from exercising its

rights under a letter of credit provided by or on behalf of a Debtor.

       7.      To the extent deemed necessary by any party to a Lease that is modified (i) in

accordance with the Modification Procedures approved by this Order (for Leases to which a

Debtor is the tenant), or (ii) by agreement between the parties thereto (for Leases to which a non-

debtor entity is the tenant), a Debtor that is guarantor of such Lease is hereby authorized to


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execute any documents in connection with a modification of such Lease, provided that the

execution of any such document may not alter the priority of any claim arising under such

guaranty without further order of the Court, after notice and a hearing. For the avoidance of

doubt, this paragraph 7 is intended only to confirm and circumscribe the Guarantor Debtors’

authority to execute documents in connection with consensual modifications of guaranteed

Leases, where the Guarantor Debtor’s participation in such modification is deemed necessary by

the parties to the Lease. Nothing in this paragraph 7 is intended, nor shall it be construed, (i) to

impose any limitations on any non-debtor’s execution of documents in relation to amendment of

any Lease, (ii) to impose any requirement that a Guarantor Debtor execute any document in

order for an amendment to a Lease to become effective, or (iii) to affect the Guarantor Debtor’s

liability under its guaranty of any Lease that is modified by the parties thereto without the

Guarantor Debtor’s participation.

       8.      Nothing in the Motion or this Order shall prohibit the Debtors from filing one or

more motions to reject executory contracts or unexpired leases.

       9.      The Debtors reserve all rights to contest any rejection claims and/or the

characterization of any lease as an unexpired lease.

       10.     Nothing herein shall be construed as a concession or evidence that a Contract or

Lease has expired, been terminated or is otherwise not currently in full force and effect. The

Debtors’ rights with respect thereto are reserved, including their right to seek a later

determination of such matters and to dispute the validity, status, characterization or

enforceability of such Contract or Lease or any claims related thereto.

       11.     Nothing herein shall be construed as: (a) an admission as to the validity of any

claim against the Debtors; (b) a waiver of the rights of the Debtors and their estates to dispute




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any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an admission that

any particular claim is of a type specified or defined hereunder; (e) a request or authorization to

assume any executory contract or unexpired lease; or (f) a waiver of the rights of the Debtors and

their estates, or of any Landlord, under the Bankruptcy Code or any other applicable law,

pursuant to section 365 of the Bankruptcy Code.

       12.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

       13.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation or interpretation of this Order.




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                       EXHIBIT 1

                     Rejection Notice
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

RGN-GROUP HOLDINGS, LLC, a Delaware                  Case No. 20-11961 (BLS)
limited liability company, et al. 1                  (Jointly Administered)

              Debtors.



                         NOTICE OF REJECTION OF
                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        PLEASE TAKE NOTICE that on [•], 2020, the United States Bankruptcy Court for the
District of Delaware (the “Court”) entered an order [D.I. •] (the “Procedures Order”) 2 in the
above-captioned chapter 11 cases of the debtors and debtors in possession in the above-captioned
chapter 11 cases (collectively, the “Debtors”), establishing, among other things, procedures (the
“Rejection Procedures”) for the rejection of executory contracts (each a “Contract” and
collectively the “Contracts”) and unexpired leases (each a “Lease” and collectively the
“Leases”).

        PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, the Debtors hereby provide notice of their intent to reject the below-referenced Contracts
and Leases. Pursuant to the terms of the Procedures Order, unless a written objection is filed and
served in accordance with the terms of the Procedures Order, the following Contracts and Leases
will be rejected pursuant to section 365(a) of the Bankruptcy Code, effective as of the date set
forth below in this Notice:




    1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Number (“FEIN”), where applicable, are as follows:
RGN-Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC
(4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and
RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are
disregarded entities for tax purposes and do not have FEINs. The mailing address for the
Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).
    2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in
the Procedures Order.
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        EXECUTORY CONTRACTS AND UNEXPIRED LEASE OTHER THAN
                  NONRESIDENTIAL PROPERTY LEASES

TITLE/DESCRIPTION OF              COUNTERPARTY NAME                    REJECTION DATE
     CONTRACT                        AND ADDRESS




              UNEXPIRED NONRESIDENTIAL REAL PROPERTY LEASES

  ADDRESS OF               LANDLORD              REJECTION              DESCRIPTION OF
    SUBJECT                NAME AND                DATE               PERSONAL PROPERTY
   PROPERTY                 ADDRESS                                    TO BE ABANDONED




        PLEASE TAKE FURTHER NOTICE that objections, if any, to this Notice, including
to the proposed abandonment of personal property, must be filed and served so that such
objection is filed with the Court and actually received by the following parties no later than ten
(10) business days after the date of this Notice: (i) the Debtors, RGN Group Holdings, LLC, et
al., Attn: James S. Feltman, Responsible Officer, 3000 Kellway Drive, Suite 140, Carrollton,
Texas 75006, E-mail: James.Feltman@DuffandPhelps.com; (ii) the Debtors’ Counsel, Faegre
Drinker Biddle & Reath LLP, Attn: Patrick A. Jackson, Esq. and Ian J. Bambrick, Esq., 222
Delaware       Avenue,      Suite    1410,      Wilmington,      Delaware     19801,       E-mail:
Patrick.Jackson@faegredrinker.com & Ian.Bambrick@faegredrinker.com; (iii) the Subchapter V
Trustee, Natasha Songonuga, Esq., c/o Gibbons P.C., 300 Delaware Avenue, Suite 1015,
Wilmington, Delaware 19801-1671, E-mail: nsongonuga@gibbonslaw.com; and (v) the Office
of the United States Trustee for the District of Delaware, J. Caleb Boggs Building, 844 King
Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: David Villagrana, Esq.)
Email: david.villagrana2@usdoj.gov; and (vi) counsel to any committee appointed in these
cases.

         PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, if no objection is filed and served in accordance with the above procedures, the Debtors
may submit a proposed order approving the rejection of the Contracts and/or Leases set forth on
this Notice (the “Rejection Order”), substantially in the form attached hereto as Exhibit A, for
entry by the Court under certification of counsel, and such rejection shall be deemed effective as
of the date set forth in the Rejection Order, provided, however, that the Rejection Date for a Real
Property Lease shall not be earlier than the later of (i) the date of entry of the Rejection Order or
(ii) the date the Debtors relinquish control of the applicable Leased Premises by notifying the
affected Landlord in writing of the Debtors’ irrevocable surrender of the premises and (A)
turning over keys, key codes, and security codes, if any, to the affected Landlord, or (B)
notifying the affected Landlord in writing that the keys, key codes, and security codes, if any, are



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not available, but the Landlord may rekey the Leased Premises; provided further that the
Rejection Date for a rejection of a Real Property Lease shall not occur earlier than the date the
Debtors filed and served the applicable Rejection Notice. (the “Rejection Date”).

        PLEASE TAKE FURTHER NOTICE that if any party with an interest in the personal
property the Debtors intend to abandon at the Leased Premises (the “Remaining Property”)fails to
file and serve an objection by the Objection Deadline, any Remaining Property remaining on the
Leased Premises as of the Rejection Date shall be deemed abandoned by the Debtors and the
Landlords may use or dispose of any such Remaining Property, in their sole discretion and
without any further notice or liability to the Debtors or any third party and, to the extent
applicable, the automatic stay shall be modified to allow such disposition.

        PLEASE TAKE FURTHER NOTICE that if an objection to this Notice is timely filed
and served, the Debtors shall seek a hearing on such objection and shall provide at least seven (7)
days’ notice of such hearing to the objecting party, the Counterparty, and the Objection Notice
Parties. If the Court upholds the Debtors’ determination to reject the applicable Contract or
Lease, then the applicable Contract or Lease shall be deemed rejected as of the date determined
by the Court as set forth in any order overruling such Objection.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures
Order, if the Debtors have deposited funds with a Counterparty or Landlord as a security deposit,
letter of credit, or other arrangement, such Counterparty may not setoff or otherwise use such
deposit or draw on such letter of credit without first providing three (3) business days’ notice in
writing of their intent to exercise such rights to the Objection Notice Parties.

       PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, you will receive notice of any order entered rejecting any Contract or Lease set forth in
this Notice to which you are a counterparty no later than five (5) days after entry of such order.

       PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, for any claim that you may assert against the Debtors as a result of the rejection of any
Contract or Lease, you must submit a proof of claim for damages arising from such rejection, on
or before the later of (a) the deadline for filing proofs of claim established by the Court in the
Debtors’ cases, or (b) thirty-five (35) days after the date of entry of the Rejection Order. If you
do not timely file such proof of claim, you may not be treated as a creditor with respect to such
claims for voting on any chapter 11 plan in these cases and may be forever barred from asserting
a claim for rejection damages arising from the rejection of the above-referenced Contract or
Lease and from participating in any distributions that may be made in connection with these
chapter 11 cases unless otherwise ordered by the Court.

                                    [Signature page follows.]




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Dated: Wilmington, Delaware        FAEGRE DRINKER BIDDLE & REATH LLP
       [•], 2020
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                                   -and-



                                   /s/ _______
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                                   Proposed Counsel to the Debtors
                                   and 4Debtors in Possession
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                      EXHIBIT A

                Proposed Rejection Order
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

RGN-GROUP HOLDINGS, LLC, a Delaware                   Case No. 20-11961 (BLS)
limited liability company, et al. 1                   (Jointly Administered)

                Debtors.                              Ref: D.I. __ & __



                       ORDER APPROVING THE REJECTION
                OF UNEXPIRED LEASES AND EXECUTORY CONTRACTS

         Pursuant to and in accordance with the Order (I) Establishing Rejection Procedures Of

Executory Contracts And Unexpired Leases And (II) Modification Procedures for Unexpired

Leases [D.I.    ] (the “Rejection Procedures Order”); 2 and the Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware dated February 29, 2012; and it

appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the

Court may enter a final order consistent with Article III of the United States Constitution; and it

appearing that venue of these chapter 11 cases and this matter is proper pursuant to 28 U.S.C. §§

1408 and 1409; and the Debtors having properly filed and served a “Notice of Rejection of

Executory Contracts and Unexpired Leases” (the “Rejection Notice”) in accordance with the

terms of the Rejection Procedures Order in respect of the rejection of the executory contracts (the

    1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Number (“FEIN”), where applicable, are as follows:
RGN-Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC
(4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and
RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are
disregarded entities for tax purposes and do not have FEINs. The mailing address for the
Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).
    2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in
the Motion.
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“Contracts”) and unexpired leases (the “Leases”) set forth on Exhibit 1 hereto; and no timely

objections having been filed to the rejection of the Contracts and Leases; and it appearing that

due and adequate notice of the Rejection Procedures Order and the Rejection Notice has been

given, and that no other or further notice need be given; and the Court having determined that the

rejections provided for herein are an appropriate exercise of the Debtors’ business judgment; and

after due deliberation, and good and sufficient cause appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.    The Leases and Contracts listed on Exhibit 1 hereto are hereby rejected effective

as of the dates set forth for each such Lease or Contract listed on Exhibit 1 hereto (the “Rejection

Date”).

          2.    With respect to the Leases listed on Exhibit 1 hereto, any personal property or

furniture, fixtures and equipment (the “Remaining Property”) remaining on the Leased Premises

as of the Rejection Date shall be deemed abandoned by the Debtors and the Landlords may use

or dispose of any Remaining Property, in their sole discretion and without any further notice or

liability to the Debtors or any third party and, to the extent applicable, the automatic stay shall be

modified to allow such use or disposition.

          3.    If any affected landlord or counterparty subject to this Order (the “Rejection

Claimant”) asserts a claim or claims against the Debtors arising from the rejection of a Lease or

Contract, such Rejection Claimant shall submit a proof of claim on or before the later of (i) the

date that is thirty-five (35) days after entry of this Order and (ii) the general bar date established

by this Court for filing proofs of claim against the Debtors. If a Rejection Claimant does not

timely file such proof of claim, such claimant will be forever barred from asserting a claim for

such rejection damages.




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       4.      For each Lease listed on Exhibit 1 hereto, Franchisor shall make reasonable

efforts to relocate Occupants to other Centers, if available, and shall remit all Novation Payments

(as such term is defined in the Franchise Agreement) to the applicable Debtor within thirty (30)

business days of each such relocation for deposit into the Debtor’s debtor-in-possession account.

       5.      The Franchisor and/or the Debtors shall provide the U.S. Trustee and the

Subchapter V Trustee notice of each such relocation within fifteen (15) business days of such

relocation.

       6.      The Debtors are authorized to take any action necessary or appropriate to

implement the terms of this Order and the rejection without further order from this Court.

       7.      This Court shall retain exclusive jurisdiction and power to resolve any dispute

arising from or related to this Order.




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                                     Exhibit II

                                      Blackline




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

RGN-GROUP HOLDINGS, LLC, a Delaware                  Case No. 20-11961 (BLS)
limited liability company, et al.1                   (Jointly Administered)

                Debtors.                             Ref: D.I. __45


                    ORDER ESTABLISHING (I) REJECTION
        PROCEDURES OF EXECUTORY CONTRACTS AND UNEXPIRED
    LEASES AND (II) MODIFICATION PROCEDURES FOR UNEXPIRED LEASES

         Upon the motion (the “Motion”)2 of the Debtors in the above-captioned chapter 11 cases

(the “Chapter 11 Cases”) for entry of an order, pursuant to sections 105(a), 365, and 554 of title

11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rules 6006,

6007, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

approving procedures for the rejection of executory contracts and unexpired leases throughout

these Chapter 11 Cases, and granting authority to take all actions necessary to implement such

procedures, including abandonment of any Remaining Property; and it appearing that the Court

has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware




    1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Number (“FEIN”), where applicable, are as follows:
RGN-Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC
(4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and
RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are
disregarded entities for tax purposes and do not have FEINs. The mailing address for the
Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).
    2
     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in
the Motion.

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dated February 29, 2012; and it appearing that the Motion is a core matter pursuant to 28 U.S.C.

§ 157(b)(2) and that the Court may enter a final order consistent with Article III of the United

States Constitution; and it appearing that venue of these Chapter 11 Cases and of the Motion is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that due and adequate notice of

the Motion has been given under the circumstances, and that no other or further notice need be

given; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors and other parties in interest; and after due deliberation, and good

and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED, as set forth herein.

        2.      The following Rejection Procedures are hereby APPROVED:

                a. Rejection Notice. The Debtors will file a notice (the “Rejection Notice”)
                   setting forth the proposed rejection of one or more Contracts or Leases and
                   will serve the Rejection Notice via U.S. mail on: (i) the counterparty to the
                   Contract or Lease (the “Counterparty”) (and its counsel, if known) under the
                   respective Contract or Lease at the last knownnotice address available to the
                   Debtorsspecified in the Contract or Lease; (ii) with respect to real property
                   Leases (“Real Property Leases”), any known third party having an interest in
                   personal property located at the leased premises (the “Leased Premises”); (iii)
                   any party known to assert a lien in any property subject to the rejected
                   Contract or Lease; (iv) the Subchapter V Trustee, Natasha Songonuga, Esq.,
                   c/o Gibbons P.C., 300 Delaware Avenue, Suite 1015, Wilmington, Delaware
                   19801-1671, E-mail: nsongonuga@gibbonslaw.com; and (v) the Office of the
                   United States Trustee for the District of Delaware, J. Caleb Boggs Building,
                   844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801
                   (Attn: David Villagrana, Esq.) Email: david.villagrana2@usdoj.gov; and (vi)
                   counsel to any committee appointed in these Chapter 11 Cases (collectively,
                   the “Notice Parties”).

                b. Content of Rejection Notice. The Rejection Notice shall be substantially in
                   the form attached as Exhibit 1 to the Proposed Order. With respect to Real
                   Property Leases, the Rejection Notice shall set forth the following
                   information, to the best of the Debtors’ knowledge: (i) the street address of
                   the related real property; (ii) the name and address of the landlord (the
                   “Landlord”); (iii) the date on which the Debtors will vacate (or have vacated)


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                      the Leased Premises; and (iv) a brief description of any personal property or
                      furniture, fixtures and equipment to be abandoned. With respect to all other
                      Contracts or Leases to be rejected, the Rejection Notice shall set forth the
                      following information, to the best of the Debtors’ knowledge: (i) the name and
                      address of the Counterparty; and (ii) a brief description of the Contract or
                      Lease to be rejected. All Rejection Notices will be accompanied by a copy of
                      the proposed order approving the rejection of the Contracts and/or Leases set
                      forth on the Rejection Notice (each such order a “Rejection Order”).

                c. Objections. Should a party in interest object to the Debtors’ proposed
                   rejection of a Contract or Lease or the abandonment of any personal property
                   located in the Leased Premises the Debtors propose to abandon, such party
                   must file and serve a written objection (an “Objection”) so that it is filed with
                   this Court and actually received by the following parties (the “Objection
                   Notice Parties”) no later than fourteen (14) days after the date the Rejection
                   Notice is filed (the “Objection Deadline”): (i) the Debtors, RGN Group
                   Holdings, LLC, et al., Attn: James S. Feltman, Responsible Officer, 3000
                   Kellway Drive, Suite 140, Carrollton, Texas 75006, E-mail:
                   James.Feltman@DuffandPhelps.com; (ii) the Debtors’ Counsel, Faegre
                   Drinker Biddle & Reath LLP, Attn: Patrick A. Jackson, Esq. and Ian J.
                   Bambrick, Esq., 222 Delaware Avenue, Suite 1410, Wilmington, Delaware
                   19801, E-mail: Patrick.Jackson@faegredrinker.com &
                   Ian.Bambrick@faegredrinker.com, with Copy, for Canadian Operating
                   Centers, to: Stikeman Elliott LLP, Attn: Mario Nigro and Lee Nicholson,
                   5300 Commerce Court West, 199 Bay Street, Toronto, Ontario M5L 1B9,
                   Canada, E-mail: mnigro@stikeman.com & leenicholson@stikeman.com;
                   (iii) the Subchapter V Trustee, Natasha Songonuga, Esq., c/o Gibbons P.C.,
                   300 Delaware Avenue, Suite 1015, Wilmington, Delaware 19801-1671, E-
                   mail: nsongonuga@gibbonslaw.com; and (v) the Office of the United States
                   Trustee for the District of Delaware, J. Caleb Boggs Building, 844 King
                   Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801 (Attn: David
                   Villagrana, Esq.) Email: david.villagrana2@usdoj.gov; and (vi) counsel to any
                   committee appointed in these Chapter 11 Cases.

                d. Effects of Failing to File an Objection to a Rejection Notice. If no Objection
                   to a Rejection Notice is timely filed and served, the Debtors shall submit a
                   form of order with the Court under certification of counsel substantially in the
                   form attached to the Rejection Notice and such Rejection Order shall set forth
                   the effective date of such rejection for the applicable Contract or Lease shall
                   be deemed rejected on the effective date set forth in the Rejection Notice (the
                   “Rejection Date”); provided, however, that the Rejection Date for a Real
                   Property Lease shall not be earlier than the later of (i) the date the Debtors file
                   and serve aof expiration of the ReObjection Notice for the Real Property
                   Lease orDeadline, with no objections having been filed; (ii) entry of the
                   dateRejection Order; and (iii) the Debtors relinquish control of the applicable
                   Leased Premises by notifying the affected Landlord in writing of the Debtors’


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                      irrevocable surrender of the premises. and (A) turning over keys, key codes,
                      and security codes, if any, to the affected Landlord, or (B) notifying the
                      affected Landlord in writing that the keys, key codes, and security codes, if
                      any, are not available, but the Landlord may rekey the Leased Premises (the
                      “Lease Rejection Date”); provided further that the Rejection Date for a
                      rejection of a Real Property Lease shall not occur earlier than the date the
                      Debtors filed and served the applicable Rejection Notice.

                e. Remaining Property. Upon the Rejection Date, afterAfter consultation with
                   Regus Corporation, any personal property or furniture, fixtures and equipment
                   (the “Remaining Property”) remaining on the Leased Premises as of the Lease
                   Rejection Date shall be deemed abandoned by the Debtors and the Landlords
                   may use or dispose of any Remaining Property, in their sole discretion,
                   without any further notice or liability to the Debtors or any third party and, to
                   the extent applicable, the automatic stay shall be modified to allow such use or
                   disposition.

                f. Effects of Filing an Objection to a Rejection Notice. If a timely Objection to a
                   Rejection Notice is filed and received in accordance with the Rejection
                   Procedures, the Debtors shall schedule a hearing on such Objection and shall
                   provide at least seven (7) days’ notice of such hearing to the objecting party,
                   the Counterparty (if not the objecting party), and the Objection Notice Parties.
                   If this Court upholds the Debtors’ determination to reject the applicable
                   Contract or Lease, then the applicable Contract or Lease shall be deemed
                   rejected (i) as of the Rejection Ddate or (ii) as otherwise determined by this
                   Court as set forth in any order overruling such Objection.

                g. Consent Orders. Any Objection may be resolved without a hearing by an
                   order of this Court submitted on a consensual basis by the Debtors and, the
                   objecting party. If no Objection is filed, the Debtors may submit a form of
                   order with the Court under certification of counsel substantially in the form
                   attached to the Rejection Notice, and the Counterparty.

                h. Deadlines for Filing Claims. Any Rejection Order will be served on the
                   appropriate Counterparties no later than five (5) days after entry of such
                   order. Claims arising out of the rejection of Contracts or Leases must be filed
                   on or before the later of (i) the deadline for filing proofs of claims established
                   by this Court in these Chapter 11 Cases or (ii) thirty-five (35) days after the
                   date of entry of the applicable Rejection Order. If no proof of claim is timely
                   filed, such claimant shallmay not be treated as a creditor with respect to such
                   claims for voting on any chapter 11 plan in these Chapter 11 Cases and
                   shallmay be forever barred from asserting a claim for rejection damages and
                   from participating in any distributions that may be made in connection with
                   these Chapter 11 Cases.

                i.    Treatment of Security Deposits. If the Debtors have deposited funds with a
                      Counterparty or Landlord as a security deposit or other arrangement, such


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                      Counterparty or Landlord may not setoff or otherwise use such deposit
                      without the prior authority of this Court or agreement of the Debtorsfollowing
                      three (3) business days’ notice in writing of their intent to exercise such rights
                      to the Objection Notice Parties. Further, the Debtors shall provide notice to
                      Regus Corporation for any security deposits remitted to or held for the benefit
                      of the Debtors.

        3.      The form of Rejection Notice attached hereto as Exhibit 1 is hereby APPROVED.

        4.      The Debtors are authorized to send the Rejection Notices to the Counterparties of

the Contracts and Leases.

        5.      The following Modification Procedures with respect to real property Leases

where (i) a Debtor entity is tenant and (ii) the Landlord and Debtor have agreed to modification

thereof (together with the Rejection Procedures, the “Procedures”) are hereby APPROVED:

                a. Modification Notice. The Debtors will file a notice (the “Modification
                   Notice”) setting forth the proposed modification of one or more Leases
                   ofwhere a Debtor Tenanted Centers or Guaranteed Centersentity is a party
                   and will serve the Modification Notice via U.S. mail on the Notice Parties.

                b. Content of Modification Notice. The Modification Notice shall set forth the
                   following information, to the best of the Debtors’ knowledge: (i) the street
                   address of the related real property; (ii) the name and address of the Landlord;
                   (iii) a brief description of the modification; however, absent reasonable
                   protection and restrictions against publication, any sensitive economic
                   information about the terms of the original Lease or the modification shall not
                   be disclosed absent prior written consent of the Landlord; (iv) to the extent
                   the modification relates towhether the Lease ofis Gguaranteed Center, a
                   certification that the modification reduces the amount of the potential
                   contingent claim of the Landlord against the Guarantor Debtor,by a Debtor,
                   and if so, which Debtor; and (v) the proposed date that the modification shall
                   go into effect.

                c. Objections. Should a party in interest object to the Debtors’ proposed
                   modification of a Lease as set forth in a Modification Notice, such party must
                   file and serve a written objection (an “Objection”) so that it is filed with this
                   Court and actually received by the Objection Notice Parties no later than
                   seven (7) days after the date the Modification Notice is filed.

                d. Effects of Failing to File an Objection to a Modification Notice. If no
                   Objection to a Modification Notice is timely filed and served, then (i) for
                   Debtor Tenanted Centers, the Debtorthe Debtor-tenant shall consent to and
                   perform under the modified Lease on an interim basis, including but not


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                      limited to executing any documents in connection with such modification, until
                      such time as the modified Lease is assumed pursuant to and at the time of
                      confirmation of a Bankruptcy Plan, and (ii) for Guaranteed Centers, the terms
                      of the modified Lease will supersede the original Lease and shall become
                      binding on the Guarantor Debtor and the non-Debtor SPE.the Debtor-
                      guarantor, if any, may execute any documents in connection with such
                      documentation, subject to the provisions of paragraph 7 of this Order.

                e. Effects of Filing an Objection to a Modification Notice. If a timely Objection
                   to a Modification Notice is filed and received in accordance with the
                   Modification Procedures, the Debtors shall schedule a hearing on such
                   Objection and shall provide at least seven (7) days’ notice of such hearing to
                   the objecting party, the Landlord, and the Objection Notice Parties. If this
                   Court upholds the Debtors’Debtor-tenant’s determination to modify the
                   applicable Lease, then (i) the Debtor, for Debtor Tenanted Centers, or the
                   Guarantor Debtor and non-Debtor SPE for Guaranteed Centers, shallDebtor-
                   tenant shall consent to and perform under the modified Lease on an interim
                   basis, including but not limited to executing any documents in connection with
                   such modification, until such time as the modified Lease is assumed pursuant
                   to and at the time of confirmation of a Bankruptcy Plan, and (ii) the Debtor-
                   guarantor, if any, may execute any documents in connection with such
                   documentation, subject to the provisions of paragraph 7 of this Order.

                f. Consent Orders. Any Objection may be resolved without a hearing by an
                   order of this Court submitted on a consensual basis by the Debtors and the
                   objecting party.

        6.      For the avoidance of doubt and notwithstanding anything to the contrary

contained herein or in the Motion: (a) the Rejection Procedures approved by this Order shall not

be utilized to reject leases of non-residential real property pursuant to which an entity other than

a Debtor is the tenant; (b) no lease of non-residential real property pursuant to which an entity

other than a Debtor is the tenant shall be considered a “Lease” for purposes of the Procedures;

(c) the Modification Procedures set forth in paragraph 5 above shall only be used to approve the

Debtors’ determination to enter into a modification of an applicable lease for which the Debtor is

the tenant and where the parties to such lease have consented to the proposed Modification, and

only to the extent Court approval of the Debtor’s participation in such Modification is deemed




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necessary by any party; (d) the Modification Procedures approved by this Order shall not be

utilized to seek amendments to leases with non-debtor tenants or guaranties by non-debtor

guarantors, or to seek a modification to any guaranty by a Debtor of a lease to which a non-

debtor entity is tenant; (e) no guaranty of any Debtor shall be considered an executory contract

subject to modification or rejection pursuant the Procedures approved herein; and (f) nothing in

this Order shall restrict or otherwise constrain any Counterparty or Landlord from exercising its

rights under a letter of credit provided by or on behalf of a Debtor.

        7.      To the extent deemed necessary by any party to a Lease that is modified (i) in

accordance with the Modification Procedures approved by this Order (for Leases to which a

Debtor is the tenant), or (ii) by agreement between the parties thereto (for Leases to which a

non-debtor entity is the tenant), a Debtor that is guarantor of such Lease is hereby authorized to

execute any documents in connection with a modification of such Lease, provided that the

execution of any such document may not alter the priority of any claim arising under such

guaranty without further order of the Court, after notice and a hearing. For the avoidance of

doubt, this paragraph 7 is intended only to confirm and circumscribe the Guarantor Debtors’

authority to execute documents in connection with consensual modifications of guaranteed

Leases, where the Guarantor Debtor’s participation in such modification is deemed necessary by

the parties to the Lease. Nothing in this paragraph 7 is intended, nor shall it be construed, (i) to

impose any limitations on any non-debtor’s execution of documents in relation to amendment of

any Lease, (ii) to impose any requirement that a Guarantor Debtor execute any document in

order for an amendment to a Lease to become effective, or (iii) to affect the Guarantor Debtor’s

liability under its guaranty of any Lease that is modified by the parties thereto without the

Guarantor Debtor’s participation.



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        8.      6. Nothing in the Motion or this Order shall prohibit the Debtors from filing one

or more motions to reject executory contracts or unexpired leases.

        9.      7. The Debtors reserve all rights to contest any rejection claims and/or the

characterization of any lease as an unexpired lease.

        8. The Debtors do not waive any claims they may have against Landlords and

Counterparties, regardless of whether such claims relate to the Contracts and Leases.

        10.     9. Nothing herein shall be construed as a concession or evidence that a Contract

or Lease has expired, been terminated or is otherwise not currently in full force and effect. The

Debtors’ rights with respect thereto are reserved, including their right to seek a later

determination of such matters and to dispute the validity, status, characterization or

enforceability of such Contract or Lease or any claims related thereto.

        11.     10. Notwithstanding the relief granted herein and any actions taken pursuant

hereto, nothing herein is intended or shouldNothing herein shall be construed as: (a) an admission

as to the validity of any claim against the Debtors; (b) a waiver of the rights of the Debtors and

their estates to dispute any claim on any grounds; (c) a promise or requirement to pay any claim;

(d) an admission that any particular claim is of a type specified or defined hereunder; (e) a

request or authorization to assume any executory contract or unexpired lease; or (f) a waiver of

the rights of the Debtors and their estates, or of any Landlord, under the Bankruptcy Code or any

other applicable law, pursuant to section 365 of the Bankruptcy Code.

        11. Notwithstanding anything to the contrary contained herein, any payment made or to

be made under this Order, any authorization contained in this Order, or any claim for which

payment is authorized hereunder, shall be subject to the requirements imposed on the Debtors




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under any orders of this Court approving any debtor-in-possession financing for, or any use of

cash collateral by, the Debtors and any budget in connection therewith.

        12.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

        13. Notwithstanding the relief granted herein and any actions taken pursuant hereto,

nothing herein shall create, nor is intended to create, any rights in favor of, or enhance the status

of, any claim held by any person or entity.

        13.     14. The Court retains jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




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                                     EXHIBIT 1

                                   Rejection Notice




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

RGN-GROUP HOLDINGS, LLC, a Delaware                  Case No. 20-11961 (BLS)
limited liability company, et al.1                   (Jointly Administered)

                Debtors.



                           NOTICE OF REJECTION OF
                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        PLEASE TAKE NOTICE that on [•], 2020, the United States Bankruptcy Court for the
District of Delaware (the “Court”) entered an order [D.I. •] (the “Procedures Order”)2 in the
above-captioned chapter 11 cases of the debtors and debtors in possession in the above-
captioned chapter 11 cases (collectively, the “Debtors”), establishing, among other things,
procedures (the “Rejection Procedures”) for the rejection of executory contracts (each a
“Contract” and collectively the “Contracts”) and unexpired leases (each a “Lease” and
collectively the “Leases”).

        PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, the Debtors hereby provide notice of their intent to reject the below-referenced Contracts
and Leases. Pursuant to the terms of the Procedures Order, unless a written objection is filed and
served in accordance with the terms of the Procedures Order, the following Contracts and Leases
will be rejected pursuant to section 365(a) of the Bankruptcy Code, effective as of the date set
forth below in this Notice (the “Rejection Date”):




    1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Number (“FEIN”), where applicable, are as follows:
RGN-Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC
(4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and
RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are
disregarded entities for tax purposes and do not have FEINs. The mailing address for the
Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).
    2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in
the Procedures Order.


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        EXECUTORY CONTRACTS AND UNEXPIRED LEASE OTHER THAN
                  NONRESIDENTIAL PROPERTY LEASES

TITLE/DESCRIPTION OF             COUNTERPARTY NAME                    REJECTION DATE
     CONTRACT                       AND ADDRESS




             UNEXPIRED NONRESIDENTIAL REAL PROPERTY LEASES

   ADDRESS OF               LANDLORD             REJECTION DATE           DESCRIPTION OF
     SUBJECT                NAME AND                                         PERSONAL
    PROPERTY                 ADDRESS                                      PROPERTY TO BE
                                                                            ABANDONED




        PLEASE TAKE FURTHER NOTICE that objections, if any, to this Notice, including
to the proposed abandonment of personal property, must be filed and served so that such
objection is filed with the Court and actually received by the following parties no later than ten
(10) business days after the date of this Notice: (i) the Debtors, RGN Group Holdings, LLC, et
al., Attn: James S. Feltman, Responsible Officer, 3000 Kellway Drive, Suite 140, Carrollton,
Texas 75006, E-mail: James.Feltman@DuffandPhelps.com; (ii) the Debtors’ Counsel, Faegre
Drinker Biddle & Reath LLP, Attn: Patrick A. Jackson, Esq. and Ian J. Bambrick, Esq., 222
Delaware        Avenue,     Suite    1410,      Wilmington,      Delaware      19801,      E-mail:
Patrick.Jackson@faegredrinker.com & Ian.Bambrick@faegredrinker.com, with Copy, for
Canadian Operating Centers, to: Stikeman Elliott LLP, Attn: Mario Nigro and Lee Nicholson,
5300 Commerce Court West, 199 Bay Street, Toronto, Ontario M5L 1B9, Canada, E-mail:
mnigro@stikeman.com & leenicholson@stikeman.com; (iii) the Subchapter V Trustee, Natasha
Songonuga, Esq., c/o Gibbons P.C., 300 Delaware Avenue, Suite 1015, Wilmington, Delaware
19801-1671, E-mail: nsongonuga@gibbonslaw.com; and (v) the Office of the United States
Trustee for the District of Delaware, J. Caleb Boggs Building, 844 King Street, Suite 2207,
Lockbox 35, Wilmington, Delaware 19801 (Attn: David Villagrana, Esq.) Email:
david.villagrana2@usdoj.gov; and (vi) counsel to any committee appointed in these cases.

        PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, if no objection is filed and served in accordance with the above procedures, the Debtors
may submit a proposed order approving the rejection of the Contracts and/or Leases set forth on
this Notice (the “Rejection Order”), substantially in the form attached hereto as Exhibit A, for
entry by the Court under certification of counsel, and such rejection shall be deemed effective as
of the Rejection Date.date set forth in the Rejection Order, provided, however, that the Rejection
Date for a Real Property Lease shall not be earlier than the later of (i) the date of entry of the
Rejection Order or (ii) the date the Debtors relinquish control of the applicable Leased Premises


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by notifying the affected Landlord in writing of the Debtors’ irrevocable surrender of the
premises and (A) turning over keys, key codes, and security codes, if any, to the affected
Landlord, or (B) notifying the affected Landlord in writing that the keys, key codes, and security
codes, if any, are not available, but the Landlord may rekey the Leased Premises; provided
further that the Rejection Date for a rejection of a Real Property Lease shall not occur earlier
than the date the Debtors filed and served the applicable Rejection Notice. (the “Rejection
Date”).

         PLEASE TAKE FURTHER NOTICE that if any party with an interest in the personal
property the Debtors intend to abandon at the Leased Premises (the “Remaining Property”)fails
to file and serve an objection by the Objection Deadline, any Remaining Property remaining on
the Leased Premises as of the Rejection Date shall be deemed abandoned by the Debtors and the
Landlords may use or dispose of any such Remaining Property, in their sole discretion and
without any further notice or liability to the Debtors or any third party and, to the extent
applicable, the automatic stay shall be modified to allow such disposition.

        PLEASE TAKE FURTHER NOTICE that if an objection to this Notice is timely filed
and served, the Debtors shall seek a hearing on such objection and shall provide at least seven (7)
days’ notice of such hearing to the objecting party, the Counterparty, and the Objection Notice
Parties. If the Court upholds the Debtors’ determination to reject the applicable Contract or
Lease, then the applicable Contract or Lease shall be deemed rejected (a) as of the Rejection
Ddate or (b) as otherwise determined by the Court as set forth in any order overruling such
oObjection.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures
Order, if the Debtors have deposited monies with the Contract or Lease counterpartyfunds with a
Counterparty or Landlord as a security deposit or otherwise, the Contract or Lease, letter of
credit, or other arrangement, such cCounterparty may not setoff or otherwise use such deposit
without the prior authorization of the Courtor draw on such letter of credit without first
providing three (3) business days’ notice in writing of their intent to exercise such rights to the
Objection Notice Parties.

       PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, you will receive notice of any order entered rejecting any Contract or Lease set forth in
this Notice to which you are a counterparty no later than five (5) days after entry of such order.

        PLEASE TAKE FURTHER NOTICE that pursuant to the terms of the Procedures
Order, for any claim that you may assert against the Debtors as a result of the rejection of any
Contract or Lease, you must submit a proof of claim for damages arising from such rejection, on
or before the later of (a) the deadline for filing proofs of claim established by the Court in the
Debtors’ cases, or (b) thirty-five (35) days after the date of entry of the Rejection Order. If you
do not timely file such proof of claim, you shallmay not be treated as a creditor with respect to
such claims for voting on any chapter 11 plan in these cases and shallmay be forever barred from
asserting a claim for rejection damages arising from the rejection of the above-referenced
Contract or Lease and from participating in any distributions that may be made in connection
with these chapter 11 cases unless otherwise ordered by the Court.



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                               [Signature page follows.]

Dated: Wilmington, Delaware           FAEGRE DRINKER BIDDLE & REATH LLP
       [•], 2020                      James F. Conlan (admitted pro hac vice)
                                      Mike T. Gustafson (admitted pro hac vice)
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                                      Chicago, Illinois 60606
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                                      Fax: (312) 212-6501
                                      James.Conlan@faegredrinker.com
                                      Mike.Gustafson@faegredrinker.com

                                      -and-

                                      /s/ _______
                                      Patrick A. Jackson (Del. Bar No. 4976)
                                      Ian J. Bambrick (Del. Bar No. 5455)
                                      222 Delaware Avenue, Suite 1410
                                      Wilmington, DE 19801
                                      Tel.: (302) 467-4200
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                                      -and-

                                      Jay Jaffe (admitted pro hac vice)
                                      600 E. 96th Street, Suite 600
                                      Indianapolis, Indiana 46240
                                      Tel.: (317) 237-0300
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                                      Proposed Counsel to the Debtors
                                      and Debtors in Possession




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                                    EXHIBIT A

                              Proposed Rejection Order




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

RGN-GROUP HOLDINGS, LLC, a Delaware                   Case No. 20-11961 (BLS)
limited liability company, et al.1                    (Jointly Administered)

                Debtors.                              Ref: D.I. __ & __



                       ORDER APPROVING THE REJECTION
                OF UNEXPIRED LEASES AND EXECUTORY CONTRACTS

         Pursuant to and in accordance with the Order (I) Establishing Rejection Procedures Of

Executory Contracts And Unexpired Leases And (II) Modification Procedures for Unexpired

Leases [D.I.    ] (the “Rejection Procedures Order”);2 and the Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware dated February 29, 2012; and

it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the

Court may enter a final order consistent with Article III of the United States Constitution; and it

appearing that venue of these chapter 11 cases and this matter is proper pursuant to 28 U.S.C. §§

1408 and 1409; and the Debtors having properly filed and served a “Notice of Rejection of




    1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Number (“FEIN”), where applicable, are as follows:
RGN-Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC
(4516), RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and
RGN-Fort Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are
disregarded entities for tax purposes and do not have FEINs. The mailing address for the
Debtors is 3000 Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman,
Responsible Officer).
    2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in
the Motion.

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Executory Contracts and Unexpired Leases” (the “Rejection Notice”) in accordance with the

terms of the Rejection Procedures Order in respect of the rejection of the executory contracts

(the “Contracts”) and unexpired leases (the “Leases”) set forth on Exhibit 1 hereto; and no timely

objections having been filed to the rejection of the Contracts and Leases; and it appearing that

due and adequate notice of the Rejection Procedures Order and the Rejection Notice has been

given, and that no other or further notice need be given; and the Court having determined that the

rejections provided for herein are an appropriate exercise of the Debtors’ business judgment; and

after due deliberation, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      The Leases and Contracts listed on Exhibit 1 hereto are hereby rejected effective

as of the dates set forth for each such Lease or Contract listed on Exhibit 1 hereto (the

“Rejection Date”).

        2.      With respect to the Leases listed on Exhibit 1 hereto, subject to notice to and

consultation with Regus Corporation, any personal property or furniture, fixtures and equipment

(the “Remaining Property”) remaining aton the lLeased pPremises as of the Rejection Date shall

be deemed abandoned by the Debtors and the lLandlords shall be free tomay use or dispose of

such abandonedany Remaining pProperty, in itstheir sole and absolute discretion and without any

further notice or liability to the Debtors or any third partiesparty and, to the extent applicable, the

automatic stay shall be modified to allow such use or disposition.

        3.      If any affected landlord or counterparty subject to this Order (the “Rejection

Claimant”) asserts a claim or claims against the Debtors arising from the rejection of a Lease or

Contract, such Rejection Claimant shall submit a proof of claim on or before the later of (i) the

date that is thirtythirty-five (3035) days after entry of this Order and (ii) the general bar date



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established by this Court for filing proofs of claim against the Debtors. If a Rejection Claimant

does not timely file such proof of claim, such claimant will be forever barred from asserting a

claim for such rejection damages.

       4.      For each Lease listed on Exhibit 1 hereto, Franchisor shall make reasonable

efforts to relocate Occupants to other Centers, if available, and shall remit all Novation Payments

(as such term is defined in the Franchise Agreement) to the applicable Debtor within thirty (30)

business days of each such relocation for deposit into the Debtor’s debtor-in-possession account.

       5.      The Franchisor and/or the Debtors shall provide the U.S. Trustee and the

Subchapter V Trustee notice of each such relocation within ________fifteen (15) business days

of such relocation.

       6.      The Debtors are authorized to take any action necessary or appropriate to

implement the terms of this Order and the rejection without further order from this Court.

       7.      This Court shall retain exclusive jurisdiction and power to resolve any dispute

arising from or related to this Order.




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                             Summary report:
    Litéra® Change-Pro TDC 10.1.0.400 Document comparison done on
                           8/30/2020 6:54:41 PM
Style name: DBR Default Style
Intelligent Table Comparison: Active
Original DMS: iw://IWORK.DBR.COM/ACTIVE/124936844/1
Modified filename: RGN - ORD 8.30 (3d).docx
Changes:
Add                                                   88
Delete                                                75
Move From                                             0
Move To                                               0
Table Insert                                          2
Table Delete                                          0
Table moves to                                        0
Table moves from                                      0
Embedded Graphics (Visio, ChemDraw, Images etc.)      0
Embedded Excel                                        0
Format changes                                        0
Total Changes:                                        165
